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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


  UNITED STA TES OF AMERICA,

                          Plaintiff,

                  v.
                                                            Case No. 1: 19-cv-1197-LO-TCB
  EDWARD SNOWDEN.

                         Defendant,
                                                            DECLARATION OF LA WREN CE
  and                                                       S. LUSTBERG IN SUPPORT OF
                                                            DEFENDANT'S OPPOSITION TO
  MACMILLAN PUBLJSI-llNG GROUP, LLC                         PLAINTIFF.'S MOTION FOR
  d/b/a HENRY HOLT AND COMPANY. et                          PARTIAL SUMMARY
  al.,                                                      JUDGMENT

                         Relief-Defendants.


        [,Lawrence S. Lustberg, in accordance with 28 U.S.C. § 1746 declare as follows:

        1.     I am an attorney at law in the States of New Jersey and New York and have been

 admitted pro hac vice before this Court. I am the Co-Chair of Commercial & Criminal Litigation

at Gibbons P.C .• and Director of the Finn's John J. Gibbons Fellowship in Public Interest &

Constitutional Law; I am one of the attorneys for Defendant Edward Snowden in this matter.

Except as otherwise noted, I have personal knowledge of the facts set forth in this declaration

and could testify competently to them if called to do so.

        2.     I submit this declaration in support of Defendant's Opposition to Plaintiff's

Motion for Pmtial Summary Judgment.

        3.     Filed as Exhibits 1-16 attached to Defendant's Opposition to Plaintiff's Motion

for Partial Summary Judgment, are true and correct copies of the following documents, or true

and correct copies of excerpts of such documents:
Case 1:19-cv-01197-LO-TCB Document 52 Filed 11/20/19 Page 2 of 4 PageID# 1042

    No.                                              Exhibit

          Glenn Greenwald, Some Facts About How NSA Stories Are Reported, Intercept, Mar. 23, 2014,
     1
          https://theintercept.com/2014/03/23/facts-nsa-stories-reported

          Barton Gellman, Secrecy, Security and Self-Government: An Argument For Unauthorized
     2    Disclosures, Century Found., Sept. 3, 2013, https://tcf.org/content/commentary/secrecy-
          security-and-self-govermnent-an-argument-for-unauthorized-disclosures

          Joe Penney et al., C.IA. Drone Mission, Curtailed by Obama, Is Expanded in Africa Under
     3
          Trump, N.Y. Times, Sept. 9, 2018, https://nyti.ms/2043rDA

          @rea!DonaldTrump, Twitter (July 24, 2017, 7:23 PM), https://twitter.com/rea!DonaldTrump/
     4
          status/889672374458646528

          Ellen Nakashima & Julie Tate, Architects of CIA Interrogation Program Settle Lawsuit Brought
     5
          on Behalf ofBrutalized Detainees, Wash. Post, Aug. 17, 2017, http://wapo.st/2iaGTpu

          Steven Aftergood, Leaks of Classified Info Surge Under Trump, Secrecy News (Apr. 8, 2019),
     6
          https ://fas.org/blogs/secrecy/2019/04/leaks-surge

          Michael lsikoff & Michael B. Kelly, In Exile, Edward Snowden Rakes in Speaking Fees While
     7    Hoping/or a Pardon, Yahoo! News, Aug. 11, 2016, https://www.yahoo.com/news/edward-
          snowden-making-most-digital-000000490.html

          Amy Davidson Sorkin, Q. &A.: Ali Soufan, New Yorker, May 16, 2012,
     8
          https://www.newyorker.com/news/amy-davidson/q-a-ali-soufan

          Greg Miller & Julie Tate, CIA Probes Publication Review Board Over Allegations ofSelective
     9
          Censorship, Wash. Post, May 31, 2012, http://wapo.st/2iLpUuP

          Max Fisher, Eva Morales's Controversial Flight Over Europe, Minute by Heavily Disputed
    10
          Minute, Wash. Post, July 3, 2013, https://wapo.st/2pvpdt4

          Criminal Complaint, United States v. Snowden, No. 1:13-CR-265 (CMH) (E.D. Va. June 14,
    11
          2013), available at https://wapo.st/37iMSOv

          Bradford Richardson, Ex-CIA Director: Snowden Should Be 'Hanged' for Paris, The Hill
    12    (Nov. 19, 2015), https://thehill.com/blogs/blog-briefing-room/260817-ex-cia-director-snowden-
          should-be-hanged-for-paris

          Joe Mullin, Trump's Pick for CIA Director Has Called for Snowden 's Execution, Ars Technica,
    13    Nov. 18, 2016, https://arstechnica.com/tech-policy/2016/11/trumps-pick-for-cia-director-has-
          called-for-snowdens-execution

          Benny Johnson, America's Spies Want Edward Snowden Dead, Buzzfeed News, Jan. 16, 2014,
    14    https://www.buzzfeednews.com/article/bennyjohnson/americas-spies-want-edward-snowden-
          dead

    15    Declaration of Edward Snowden


                                                 2
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        I decla re under penalty of perjury that the foregoing is true a nd correct. Executed on

 November 20, 201 9.



                                                     Lawrence S. Lustberg




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                                      CERTIFICATE OF SERVICE

         l hereby certify that on the 20'" day of November, 2019, l will electronically file the foregoing

 with the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

 (NEF) to the following:

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